                                                     U.S. Department of Justice

                                                     United States Attorney

                                                     Eastern District of Pennsylvania

Jonathan Ortiz                                          615 Chestnut Street
Direct Dial: (215) 861-8305                              Suite 1250
Facsimile: (215) 861- 8618                              Philadelphia, Pennsylvania 19106-4476
E-mail Address: Jonathan.Ortiz2@usdoj.gov                           (215) 861-8200




                                                        August 7, 2020

U.S. District Court Clerk=s Office
Criminal Division
2609 United States Courthouse
601 Market Street
Philadelphia, PA 19106

          Re:      United States v. Joseph LaForte; 20-CR-231

Dear Clerk:

        Please unimpound the Indictment in regard to the above-captioned case. The Indictment
was filed on August 5, 2020.

                                                        Very truly yours,

                                                        WILLIAM M. MCSWAIN
                                                        United States Attorney



                                                         /s/ Jonathan Ortiz
                                                        Jonathan Ortiz
                                                        Assistant United States Attorney
